A 0 2458 (WDNC Rev. 4/04) Judgment in a Criminal Case



                                                  United States District Court
                                             For The Western District of North Carolina

UNITED STATES OF AMERICA                                                        JUDGMENT IN A CRIMINAL CASE
                                                                        (For Offenses Committed On or After November 1, 1987)
      v.
                                                                        Case Number: 3:06cr74-3-BR & 3:06cr403-BR
SAMUEL THOMAS CLlRRlN
                                                                        USM Number: 50283-056

                                                                        Mark Calloway & Thomas Walker
                                                                        Defendant's Attorneys

THE DEFENDANT:

X
-     pleaded guilty to count(s) 5 in 3:06cr74 and counts 1 & 2 in 3:06cr403.
-     Pleaded nolo contendere to count(s) which was accepted by the court.
-     Was found guilty on count(s) after a plea of not guilty.

ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following offense(s):

                                                                                    Date Offense
 Title and Section               Nature of Offense                                  Concluded                 Counts
 18:1512                         Obstruction of Official Proceeding                 1211612005                Ct. 5 in 3:06cr74

 18:1956(h)                      Conspiracy to Commit Money Laundering              1013112005                Ct. 1 in 3:06cr403
 26:7212(a)(2)                   Obstruction of Due Administration of the IRS       07/05/2005                Ct. 2 in 3:06c403


     The defendant is sentenced as provided in pages 2 through 5 of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984, United States v. Booker, 125 S.Ct. 738 (2005), and 18 U.S.C. 5 3553(a).

-     The defendant has been found not guilty on count(s) .
X
-     Count(s) 1, 3, 4, 6-8 in 3:06cr74 @)(are) dismissed on the motion of the United States.

       IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change of
name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully
paid. If ordered to pay monetary penalties, the defendant shall notify the court and United States attorney of any material change
in the defendant's economic circumstances.
                                                                               Date of Imposition of Sentence: 9/4/2007




                                                                                 Date:   &I   9. ( 2 . 0 7




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                                                                IMPRISONMENT

      The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of
Count 5 in 3:06cr74: SEVENTY (70) MONTHS;
Count 1 in 3:06cr403: SEVENTY (70) MONTHS to run concurrentlv with count 5 in 3:06cr74;
Count 2 in 3:06cr403: THIRTY-SIX (36) MONTHS to run concurrentlv with count 5 in 3:06cr74 and concurrentlv with count 1 in
3:06cr403.



X The Court makes the following recommendations to the Bureau of Prisons:
-
           That the defendant be provided mental health treatment while incarcerated, and that he be designated to a facility
           that is capable of giving him the needed treatment for mental health, giving due regard to his current treatment.
           The court recommends that the defendant be designated to FMC Butner if it meets the defendant's needed criteria.

- The defendant is remanded to the custody of the United States Marshal.

- The defendant shall surrender to the United States Marshal for this district:

      - At -On -.
      - As notified by the United States Marshal
X The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
-


      X before 2 pm on the date the BOP desinnates.
      -
      X as notified by the United States Marshal.
      -
      - As notified by the Probation or Pretrial Services Office.
                                                                    RETURN

I have executed this Judgment as follows:




      Defendant delivered on                                          To

At                                                      , with a certified copy of this Judgment.


                                                                                      United States Marshal

                                                                              BY
                                                                                      Deputy Marshal




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                                                                 SUPERVISED RELEASE

     Upon release from imprisonment, the defendant shall be on supervised release for a term of
Count 5 in 3:06cr74: THREE (3) YEARS;
Count 1 in 3:06cr403: THREE (3) YEARS to run concurrently with count 5 in 3:06cr74;
Count 2 in 3:06cr403: ONE (1) YEAR to run concurrentlv with count 5 in 3:06cr74 and concurrentlv with count 1 in 3:06cr403.

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-     The condition for mandatory drug testing is suspended based on the court's determination that the defendant poses a low
      risk of future substance abuse.

                                                   STANDARD CONDITIONS OF SUPERVISION
      The defendant shall comply with the standard conditions that have been adopted by this court and any additional conditions ordered.

      The defendant shall not commit another federal, state, or local crime.
      The defendant shall refrain from possessing a firearm, destructive device, or other dangerous weapon.
      The defendant shall pay any financial obligation imposed by this judgment remaining unpaid as of the commencement of the sentence of probation or the
      term of supervised release on a schedule to be established by the court.
      The defendant shall provide access to any personal or business financial information as requested by the probation officer.
      The defendant shall not acquire any new lines of credit unless authorized to do so in advance by the probation officer.
      The defendant shall not leave the Western District of North Carolina without the permission of the Court or probation officer.
      The defendant shall report in person to the probation officer as directed by the Court or probation officer and shall submit a truthful and complete written
      report within the first five days of each month.
      A defendant on supervised release shall report in person to the probation officer in the district to which he or she is released within 72 hours of release
      from custody of the Bureau of Prisons.
      The defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer.
      The defendant shall support his or her dependents and meet other family responsibilities.
      The defendant shall work regularly at a lawfijl occupation unless excused by the probation officer for schooling, training, or other activities authorized by
      the probation officer.
      The defendant shall notify the probation officer within 72 hours of any change in residence or employment.
      The defendant shall refrain from excessive use of alcohol and shall not unlawfully purchase, possess, use, distribute or administer any narcotic or other
      controlled substance, or any paraphernalia related to such substances, except as duly prescribed by a licensed physician.
      The defendant shall participate in a program of testing and treatment or both for substance abuse if directed to do so by the probation officer, until such
      time as the defendant is released from the program by the probation officer; provided, however, that defendant shall submit to a drug test within 15 days of
      release on probation or supervised release and at least two periodic drug tests thereafter for use of any controlled substance, subject to the provisions of
      18:3563(a)(5) or 18:3583(d), respectively.
      The defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered.
      The defendant shall not associate with any persons engaged in criminal activity, and shall not associate with any person convicted of a felony unless
      granted permission to do so by the probation officer.
      The defendant shall submit his person, residence, office or vehicle to a search, from time to time, conducted by any U.S. Probation Officer and such other
      law enforcement personnel as the probation officer may deem advisable, without a warrant; and failure to submit to such a search may be grounds for
      revocation of probation or supervised release. The defendant shall warn other residents or occupants that such premises or vehicle may be subject to
      searches pursuant to this condition.
      The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any contraband
      observed by the probation officer.
      The defendant shall notify the probation officer within 72 hours of defendant's being arrested or questioned by a law enforcement officer.
      The defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the permission of the
      Court.
      As directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal record or personal
      history or characteristics, and shall permit the probation officer to make such notifications and to confirm the defendant's compliance with such notification
      requirement.
      If the instant offense was committed on or after 4/24/96, the defendant shall notify the probation officer of any material changes in defendant's economic
      circumstances which may affect the defendant's ability to pay any monetary penalty.
      If home confinement (home detention, home incarceration or curfew) is included you may be required to pay all or part of the cost of the electronic
      monitoring or other location verification system program based upon your ability to pay as determined by the probation officer.
      The defendant shall cooperate in the collection of DNA as directed by the probation officer.

ADDITIONAL CONDITIONS:
              The defendant shall submit to a mental health evaluationltreatment program under the guidance
              and supervision of the U.S. Probation Office. The defendant shall remain in treatment and
              maintain any prescribed medications until satisfactorily discharged by the program andlor with
              the approval of the U. S. Probation Office.

              The defendant shall file tax returns with the Internal Revenue Service as required by law and
              provide the U.S. Probation Office with proof of same.
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              The defendant shall cooperate with the Internal Revenue Service to pay all outstanding taxes,
              interest and penalties and provide the U.S. Probation Office with proof of the same.
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                                                    CRIMINAL MONETARY PENALTIES

The defendant shall pay the following total criminal monetary penalties in accordance with the Schedule of Payments.

               ASSESSMENT                                            FINE                                 RESTITUTION

             100.00 each count,                                      $0.00                                     $0.00
            for a total of $300.00


                                                                     FlNE


      The defendant shall pay interest on any fine or restitution of more than $2,500.00, unless the fine or restitution is paid in full
before the fifteenth day after the date of judgment, pursuant to 18 U.S.C. 5 3612(f). All of the payment options on the Schedule of
Payments may be subject to penalties for default and delinquency pursuant to 18 U.S.C. 5 3612(g).

-          The court has determined that the defendant does not have the ability to pay interest and it is ordered that:

-          The interest requirement is waived.

-          The interest requirement is modified as follows:


                                                  COURT APPOINTED COUNSEL FEES

-          The defendant shall pay court appointed counsel fees.

-          The defendant shall pay $                    Towards court appointed fees.




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                                                          SCHEDULE OF PAYMENTS


Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties shall be due as follows:

      A    -          Lump sum payment of $                    Due immediately, balance due

           -          Not later than    , or
           -          In accordance -(C), - (D) below; or

      B   X           Payment to begin immediately (may be combined with              -(C)     - (D) below); or
      c -             Payment in equal                  (E.g. weekly, monthly, quarterly) installments of $           To commence
                      - (E.g. 30 or 60 days) after the date of this judgment; or
      D -             Payment in equal                  (E.g. weekly, monthly, quarterly) installments of $           To commence
                      - (E.g. 30 or 60 days) after release from imprisonment to a term of supervision. In the event the entire
                      amount of criminal monetary penalties imposed is not paid prior to the commencement of supervision, the
                      U.S. Probation Officer shall pursue collection of the amount due, and may request the court to establish or
                      modify a payment schedule if appropriate 18 U.S.C. § 3572.


Special instructions regarding the payment of criminal monetary penalties:

-     The defendant shall pay the cost of prosecution.
-     The defendant shall pay the following court costs:
-     The defendant shall forfeit the defendant's interest in the following property to the United States:


Unless the court has expressly ordered otherwise in the special instructions above, if this judgment imposes a period of
imprisonment payment of criminal monetary penalties shall be due during the period of imprisonment. All criminal monetary
penalty payments are to be made to the United States District Court Clerk, 401 West Trade Street, Room 210, Charlotte, NC
28202, except those payments made through the Bureau of Prisons' Inmate Financial Responsibility Program. All criminal
monetary penalty payments are to be made as directed by the court.




Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) community restitution, (6) fine interest, (7) penalties, and (8) costs, including cost of prosecution and court costs./2007




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